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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


DORIS BROWN, et al.,

                                            Case No.
          Plaintiffs,
                                            1:16−cv−01166−JTN−ESC

   v.                                       Hon. Janet T. Neff

MUSKEGON, CITY OF, et al.,

          Defendants.
                                        /

                                    ORDER

        This matter is before the Court on Plaintiffs' Motion for Leave to File
Excess Pages − #62, which was filed December 12, 2017. Effective
September 28, 2015, Local Rule 7.1(d) was amended to require the following:
 "All nondispositive motions shall be accompanied by a separately filed
certificate setting forth in detail the efforts of the moving party to comply with
the obligation created by this rule." W.D. Mich. LCivR 7.1(d); see
Administrative Order No. 15−RL−78 (Sept. 11, 2015). The motion fails to
comply with this requirement. Accordingly,

      IT IS ORDERED that Plaintiffs' Motion for Leave to File Excess Pages −
#62 is DENIED without prejudice to refile.

        IT IS SO ORDERED.


Dated: December 13, 2017                 /s/ Janet T. Neff
                                        JANET T. NEFF
                                        United States District Judge
